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                UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN

In re:

Master Equity Group, LLC,                       Case No. GK 22-00818-jtg
                                                Chapter 11 – Subchapter V
          Debtor.                               Hon. John T. Gregg
______________________________/

  COVERSHEET FOR BALANCE SHEET, CASH-FLOW STATEMENT,
           FEDERAL INCOME TAX RETURN, AND
              PROFIT AND LOSS STATEMENT




                                      Steinberg Shapiro & Clark


                                       /s/ Mark H. Shapiro (P43134)
                                      Attorneys for Debtor-in-Possession
                                      25925 Telegraph Road, Suite 203
                                      Southfield, MI 48033
                                      (248) 352-4700
                                      shapiro@steinbergshapiro.com
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                                            MEG - Master Equity Group
                                                            Balance Sheet
                                                       As of December 31, 2021


                                                                                                                        TOTAL
ASSETS
 Current Assets
 Bank Accounts                                                                                                      $15,135.55
 Accounts Receivable                                                                                                     $0.00
 Total Current Assets                                                                                               $15,135.55
 Fixed Assets
 Intangible Assets
  Accumulated Amortization                                                                                           -29,822.62
  Startup Costs                                                                                                    1,588,791.82
 Total Intangible Assets                                                                                           1,558,969.20
 Leasehold Improvements                                                                                            3,205,963.77
  Accumulated Depreciation                                                                                          -196,892.00
  Furniture and Equipment                                                                                           142,790.49
 Total Leasehold Improvements                                                                                      3,151,862.26
 Vehicles                                                                                                            49,508.82
 Total Fixed Assets                                                                                               $4,760,340.28
TOTAL ASSETS                                                                                                      $4,775,475.83

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable                                                                                                 $127,202.80
  Other Current Liabilities
   Child Support/FOC                                                                                                       0.00
   Federal Withholding                                                                                                     0.00
   FUTA                                                                                                                    0.00
   State Withholding                                                                                                       0.00
   SUTA                                                                                                                    0.00
  Total Other Current Liabilities                                                                                        $0.00
 Total Current Liabilities                                                                                         $127,202.80
 Long-Term Liabilities
  Landlord LOC                                                                                                     1,369,436.14
  Liabilities to Members                                                                                           3,005,611.83
  Vehicle Loans                                                                                                      49,374.33
 Total Long-Term Liabilities                                                                                      $4,424,422.30
 Total Liabilities                                                                                                $4,551,625.10
 Equity                                                                                                            $223,850.73
TOTAL LIABILITIES AND EQUITY                                                                                      $4,775,475.83




                                       Accrual Basis Thursday, April 28, 2022 06:41 PM GMT-04:00                           1/1
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                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF MICHIGAN

             In re:

             Master Equity Group, LLC,                                 Case No. GK 22-00818-jtg
                                                                       Chapter 11 – Subchapter V
                       Debtor.                                         Hon. John T. Gregg
             ______________________________/

                         DECLARATION REGARDING CASH FLOW STATEMENT

                      I, Adam Tucker, CEO of Debtor-in-Possession, state as follows:

                      Master Equity Group, LLC does not prepare Cash Flow Statements and,

             therefore, is unable to provide copies of same.



                                                                                 
                                                           ________________________________
                                                           Adam Tucker, CEO
                                                           Master Equity Group, LLC
                                                           Debtor-in-Possession
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                                                          Form 1065 Return Summary
                                  For calendar year 2020, or tax year beginning                  , and ending

                                 MASTER EQUITY GROUP, LLC                                                   XX-XXXXXXX


     Ordinary Business Income (Loss)                                                  Tax and Payment
      Total income                                             503,661                  Total balance due
      Total deductions                                (        549,712 )                Payments                               (                      )
        Ordinary Business Income (Loss)                        -46,051                    Amount owed
                                                                                          Overpayment



     Analysis of Net Income (Loss), Line 1                                            Form 8804 - Foreign Partner Withholding
      Ordinary business income (loss)                          -46,051                  Total number of foreign partners
      Net rental real estate income (loss)                                              Effectively connected taxable income
      Other net rental income (loss)
      Guaranteed payments                                                               Total withholding tax
      Interest income                                                                   Payments                               (                      )
      Dividends                                                                         Estimated tax penalty
      Royalties                                                                         Overpayment allocated to partners
      Net short-term capital gain (loss)                                                  Withholding Tax Due (Overpaid)                          0
      Net long-term capital gain (loss)
      Net section 1231 gain (loss)
      Other income (loss)
      Section 179 deduction                           (                      )
      Contributions                                   (                      )
      Investment interest expense                     (                      )
      Section 59(e)(2) expenditures                   (                      )
      Other deductions                                (                      )
      Total foreign taxes paid / accrued              (                      )
        Analysis of Net Income (Loss), Line 1                  -46,051



                      Analysis of Net Income (Loss)                  Schedule L                          Beginning of Year         End of Year
                                                                      Assets                                3,477,919              4,834,780
                                                                      Liabilities                           2,867,595              4,256,458
   Analysis, line 1                            -46,051                Capital                                 610,324                578,322
   Analysis, line 2                            -46,051
                                                                       Liabilities and capital              3,477,919              4,834,780
   Difference                                              0
                                                                       Difference                                          0                      0



    Analysis of Net Income (Loss) and M-1/M-3 Reconciliation         Partners' Capital                      Schedule M-2           Schedule K-1
                                                                      Beginning balance                          610,324              610,324
   Analysis, line 1                            -46,051                Contributions                                    0                    0
   Schedule M-1, line 9                        -46,051                Current year income (loss)                 -46,209              -46,209
   Schedule M-3, page 2, line 26(d)                                   Other increases (decreases)                 14,207               14,207
                                                                      Distributions               (                    0)      (            0)
   Difference                                              0
                                                                       Ending balance                            578,322              578,322
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                                    Callaghan Public Accounting, Inc.
                                         1909 W Main St Suite A
                                       Kalamazoo, MI 49006-3041
                                              269-216-3283

Master Equity Group, LLC
2325 N. Burdick St.
Kalamazoo, MI 49007

Dear Adam:

To ensure a complete understanding between us, this letter sets out the Scope and Terms and Conditions of our engagement with
Master Equity Group, LLC .

We will prepare the federal and state (if required) partnership tax return for Master Equity Group, LLC for tax year ended 2020 :

This return will be prepared from information you provide to us. Callaghan Public Accounting, Inc. will not audit or independently
verify information provided to us, including any information provided to you on Schedule K-1. It is your responsibility to provide
complete and accurate information needed to support your filing. Because your tax returns are signed under penalties of perjury, you
have final responsibility for the information reported on them. You should review the returns carefully before you sign and file them.

Callaghan Public Accounting, Inc. will not prepare any returns or forms (including tax projections) as part of this engagement. If you
require additional returns, forms, planning or other services, those items shall be covered by a separate Engagement Letter before we
will have any responsibility for those services. Our engagement is not intended to, nor shall we be responsible for identification of
errors made by prior service providers.

Your flow-through tax returns are due March 15 and may be extended to September 15. The extension to file your returns does not
extend the due date for paying your tax. Failure to pay your tax and/or file your tax returns by the statutory due date may result in
penalties, interest, and/or loss of tax elections affecting future returns. For us to timely complete your returns, we ask that you provide
information needed as soon as possible. The timely submission of your information allows us to efficiently prepare your returns and
make any necessary inquiries regarding the information we receive from you. Please forward your information to us as soon as it is
substantially complete. When you submit your information after March 1st, you adversely affect our ability to accurately and timely
prepare and submit your returns prior to the filing due date, which may result in errors and/or penalties and interest.

We will electronically file your federal and state (where accepted) returns on your behalf once you have approved the returns for
filing. IRS rules state that we cannot electronically submit your federal return on your behalf without written authorization in the form
of a signed Form 8879, IRS e-file Signature Authorization. An individual authorized to sign the tax return on behalf of Master Equity
Group, LLC must sign the e-file authorization for it to be valid. We shall not have any liability associated with late filing resulting
from your failure to timely sign and return Form 8879.

U.S. persons generally must report income and activities related to domestic and foreign assets (worldwide income). It is your
responsibility to provide us with any information related to foreign assets you hold directly or indirectly. If Master Equity Group, LLC
has any cross- border transactions, foreign assets (including bank accounts), or foreign owners, you may have additional filing
requirements. To the extent not detailed above, Callaghan Public Accounting, Inc. can be available to assist you in identifying any
additional filing requirements. Should you require any additional services, those items shall be covered by a separate Engagement
Letter before Callaghan Public Accounting, Inc. has any responsibility for those services. Failure to report or disclose information
related to foreign activities may result in substantial penalties and additional tax.

Congress enacted the Bipartisan Budget Act ("BBA") in 2015 which created new audit rules for partnerships effective January 1,
2018 (streamlined partnership audit rules). Partnerships must consider treatment under these rules on an annual basis, and the
decision to elect in or out of BBA can be complex and impact current, past, or future partners/members. This Engagement Letter does
not cover any substantial discussions you may require with respect to electing in or out of BBA. Should you require assistance with
determining whether to elect in or out of BBA, that discussion shall be covered by a separate Engagement Letter before we have any
responsibility for those services.

Certain tax positions must be disclosed unless there is "substantial authority" for those positions. Failure to disclose such positions
may result in an assessment of accuracy- related penalties. Prior to completing your returns, we will discuss with you those positions
which, in its professional judgment, may require disclosure. However, you acknowledge that you have final responsibility for any tax
position (disclosed or undisclosed) taken in the returns by you. Callaghan Public Accounting, Inc. is not responsible for any penalties
or interest assessed to you resulting from inadequate or inaccurate support and/or documentation, or failure to provide relevant
information.

Callaghan Public Accounting, Inc. recognizes that information provided to us by you in the performance of this engagement is
confidential. We will not use your information for any purpose beyond preparation of the returns listed in this Engagement Letter, and
generally will not disclose information you provide to third parties without your consent. Original documents, to the extent provided,
will be returned to you upon completion of this engagement. You should retain any documents used to support your returns in the
event the completeness or accuracy of the returns are called into question by governmental or regulatory authorities. Workpapers
created in connection with this engagement are the property of Callaghan Public Accounting, Inc., and we reserve the right to destroy
any workpaper created by us in connection with this engagement pursuant to our internal policies.
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Our fee for these services will be based on the amount of time required to prepare your return at our standard billing rates.

We will not start work on this engagement until a signed Engagement Letter is returned to us by you. Thank you for the opportunity
to serve you.

Very Respectfully,

Callaghan Public Accounting, Inc.

Accepted By:

Date:
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 Form   8879-PE                                               IRS e-file Signature Authorization for Form 1065                                                                                                                                OMB No. 1545-0123

                                                                                        u ERO must obtain and retain completed Form 8879-PE.

 Department of the Treasury
                                                                                    u Go to www.irs.gov/Form8879PE for the latest information.                                                                                                    2020
 Internal Revenue Service                                  For calendar year 2020, or tax year beginning                                                                  , and ending                                           .
 Name of partnership                                                                                                                                                                                                 Employer identification number


   MASTER EQUITY GROUP, LLC                                                                                                                                                                                          XX-XXXXXXX
   Part I                 Tax Return Information (Whole dollars only)
   1    Gross receipts or sales less returns and allowances (Form 1065, line 1c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       1                 503,661
   2    Gross profit (Form 1065, line 3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         2                 503,661
   3    Ordinary business income (loss) (Form 1065, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   3                 -46,051
   4    Net rental real estate income (loss) (Form 1065, Schedule K, line 2) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 4
   5    Other net rental income (loss) (Form 1065, Schedule K, line 3c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              5
   Part II                Declaration and Signature Authorization of Partner or Member
                          (Be sure to get a copy of the partnership’s return)
 Under penalties of perjury, I declare that I am a partner or member of the above partnership and that I have examined a copy of the
 partnership’s 2020 electronic return of partnership income and accompanying schedules and statements and to the best of my
 knowledge and belief, it is true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on
 the copy of the partnership’s electronic return of partnership income. I consent to allow my electronic return originator (ERO),
 transmitter, or intermediate service provider to send the partnership’s return to the IRS and to receive from the IRS (a) an
 acknowledgement of receipt or reason for rejection of the transmission and (b) the reason for any delay in processing the return. I
 have selected a personal identification number (PIN) as my signature for the partnership’s electronic return of partnership income.

 Partner's or Member’s PIN: check one box only

           X       I authorize           CALLAGHAN PUBLIC ACCOUNTING, INC.                                                                                                                         to enter my PIN                   95193             as my signature
                                                                                                          ERO firm name                                                                                                        Don’t enter all zeros
                   on the partnership’s 2020 electronically filed return of partnership income.

                   As a partner or member of the partnership, I will enter my PIN as my signature on the partnership’s 2020 electronically filed
                   return of partnership income.

 Partner's or member’s signature u
 Title u       PRESIDENT                                                                        ADAM TUCKER                                                                                                                              Date u     10/04/21

   Part III               Certification and Authentication

 ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                                                                     Don’t enter all zeros

 I certify that the above numeric entry is my PIN, which is my signature on the 2020 electronically filed return of partnership income for
 the partnership indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
 Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
 Returns.

 ERO’s signature u                   DANIEL CALLAGHAN, CPA                                                                                                                                       Date u              10/04/21


                                                                       ERO Must Retain This Form – See Instructions
                                                               Don’t Submit This Form to the IRS Unless Requested To Do So
 For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                                                       Form   8879-PE (2020)




 DAA
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 Form                                                 1065                                                                                          U.S. Return of Partnership Income
                                                                                                               For calendar year 2020, or tax year beginning . . . . . . . . . . . . . . . . . . . . . . . . . .                                 , ending . . . . . . . . . . . . . . . . . . . . .       .
                                                                                                                                                                                                                                                                                                                          OMB No. 1545-0123

 Department of the Treasury
 Internal Revenue Service                                                                                                  u Go to www.irs.gov/Form1065 for instructions and the latest information.                                                                                                                           2020
 A                                                Principal business activity                                           Name of partnership                                                                                                                                               D          Employer identification number


                        REAL ESTATE                                                                                     MASTER EQUITY GROUP, LLC                                                                                                                                                     XX-XXXXXXX
 B                                                Principal product or service                      Type                Number, street, and room or suite no. If a P.O. box, see instructions.                                                                                            E          Date business started
                                                                                                     or
                        REAL ESTATE                                                                 Print               2325 N. BURDICK ST.                                                                                                                                                          03/06/2018
 C                                                Business code number                                                  City or town, state or province, country, and ZIP or foreign postal code                                                                                          F          Total assets
                                                                                                                                                                                                                                                                                                     (see instructions)
                                                                                                                        KALAMAZOO                                                                              MI 49007                                                                              $                     4,834,780
                                                  531120
 G                                                Check applicable boxes:  (1)                                         Initial return                  (2)               Final return (3)                              Name change (4)               Address change (5)                                          Amended return
 H                                                Check accounting method: (1)                                 X       Cash                            (2)               Accrual      (3)                              Other (specify) u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4                                                             ..
 J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u
 K Check if partnership: (1)      Aggregated activities for section 465 at-risk purposes (2)                                                               Grouped activities for section 469 passive activity purposes
 Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
      1a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a                        503,661
       b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1b
       c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      1c                                503,661
                                                    2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  2
  Income




                                                    3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             3                       503,661
                                                    4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         4
                                                    5     Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               5
                                                    6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            6
                                                    7     Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               7
                                                    8     Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           8                       503,661
                                                    9     Salaries and wages (other than to partners) (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  9                       167,239
  Deductions (see instructions for limitations)




                                                   10     Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           10
                                                   11     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 11                         78,594
                                                   12     Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               12
                                                   13     Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        13                         1,000
                                                   14     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          14                        21,010
                                                   15     Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             15                       104,211
                                                   16a    Depreciation (if required, attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16a                                                              142,729
                                                      b   Less depreciation reported on Form 1125-A and elsewhere on return . . . . . . . . . . . . 16b                                                                                                                          16c                                               142,729
                                                   17     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     17
                                                   18     Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
                                                   19     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   19
                                                   20     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE     . . . . . . . . . STATEMENT
                                                                                                                                                                                                                  . . . . . . . . . . . . . . . . . . . . . .1.....                                       20                        34,929
                                                   21     Total deductions. Add the amounts shown in the far right column for lines 9 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                      21                       549,712
                                                   22     Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           22                       -46,051
                                                   23     Interest due under the look-back method—completed long-term contracts (attach Form 8697) . . . . . . . . . . . . . . . . . . . .                                                                                                                23
  Tax and Payment




                                                   24     Interest due under the look-back method—income forecast method (attach Form 8866) . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                         24
                                                   25     BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               25
                                                   26     Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  26
                                                   27     Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      27
                                                   28     Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                28
                                                   29     Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                29
                                                   30     Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           30
                                                           Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
 Sign                                                      and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information
                                                           of which preparer has any knowledge.                                                                                                                        May the IRS discuss this return
 Here                                                                                                                                                                                                                  with the preparer shown below? See

                                                                Signature of partner or limited liability company member                                                              Date
                                                                                                                                                                                                                       instructions.          Yes         No                                                                   X
                                                             Print/Type preparer's name                                                                              Preparer's signature                                                                                  Date                          Check            if       PTIN
 Paid    DANIEL CALLAGHAN, CPA            DANIEL CALLAGHAN, CPA                                                                                                                                                                                                             10/04/21                     self-employed         P01994182
 Preparer FFirm's name   u CALLAGHAN PUBLIC ACCOUNTING,                                                                                                                                                                        INC.                                                       Firm's EIN u            XX-XXXXXXX
 Use Only Firm's address u 1909 W MAIN ST SUITE A
                                                                                                    KALAMAZOO, MI                                                                                              49006-3041                                                                 Phone no.              269-216-3283
 For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                                                                                                Form   1065 (2020)
 DAA
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 Form 1065 (2020)                 MASTER EQUITY GROUP, LLC                                                                                                              XX-XXXXXXX                                                                                      Page 2
   Schedule B                        Other Information
  1     What type of entity is filing this return? Check the applicable box:                                                                                                                                                                                       Yes      No
   a       Domestic general partnership                  b        Domestic limited partnership
   c    X Domestic limited liability company             d        Domestic limited liability partnership
   e       Foreign partnership                           f        Other u
  2     At the end of the tax year:
   a    Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
        exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
        loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
        B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        X
   b    Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
        the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
        on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 X
  3     At the end of the tax year, did the partnership:
   a    Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
        stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
        If "Yes," complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             X
                                                                                                                                                                                                                                                            (iv) Percentage
                                 (i) Name of Corporation                                                      (ii) Employer Identification                                                   (iii) Country of                                               Owned in Voting
                                                                                                                    Number (if any)                                                           Incorporation                                                      Stock




   b    Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
        or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
        interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                        X
                                                                                                 (ii) Employer                                                                                                                                               (v) Maximum
                              (i) Name of Entity                                                                                            (iii) Type of                                              (iv) Country of
                                                                                                 Identification                                                                                                                                         Percentage Owned in
                                                                                                Number (if any)                                  Entity                                                 Organization                                    Profit, Loss, or Capital




  4     Does the partnership satisfy all four of the following conditions?                                                                                                                                                                                         Yes      No
   a    The partnership's total receipts for the tax year were less than $250,000.
   b    The partnership's total assets at the end of the tax year were less than $1 million.
   c    Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
        extensions) for the partnership return.
   d    The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
        If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
        or item L on Schedule K-1.
  5     Is this partnership a publicly traded partnership as defined in section 469(k)(2)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      X
  6     During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
        so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           X
  7     Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
        information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
  8     At any time during calendar year 2020, did the partnership have an interest in or a signature or other authority over
        a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
        See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
        Financial Accounts (FBAR). If “Yes,” enter the name of the foreign country u                                                                                                                                                                                        X
  9   At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
      transferor to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report
      Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
  10a Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
      attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                       X
                                                                                                                                                                                                                                                            Form   1065 (2020)
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 Form 1065 (2020)                    MASTER EQUITY GROUP, LLC                                                                                                             XX-XXXXXXX                                                                                     Page 3
    Schedule B                          Other Information (continued)
     Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
     c                                                                                                                                                                                                                                                              Yes    No
     substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
     734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      X
 11  Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-
     kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
     partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 12  At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
     undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   X
 13  If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
     Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
     instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14  Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
     Information Statement of Section 1446 Withholding Tax, filed for this partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                 X
 15  Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
     to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0
 16a Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
   b If "Yes," did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         X
 17  Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
     Corporations, attached to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0
 18  Enter the number of partners that are foreign governments under section 892 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                      0
 19  During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
     and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                            X
 20  Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for Form 8938 . . . . . . . . . .                                                                                                                   X
 21  Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   X
 22  During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
     not allowed a deduction under section 267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
     If “Yes,” enter the total amount of the disallowed deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           $
 23  Did the partnership have an election under section 163(j) for any real property trade or business or any farming
     business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  X
 24  Does the partnership satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         X
   a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
   b The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
     preceding the current tax year are more than $26 million and the partnership has business interest.
   C The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
     If “Yes” to any, complete and attach Form 8990.
 25  Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                                                                                                                                  X
     If “Yes,” the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
     line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     If “No,” complete Designation of Partnership Representative below.
 Designation of Partnership Representative (see instructions)
 Enter below the information for the partnership representative (PR) for the tax year covered by this return.
 Name of PR                          ADAM TUCKER
 U.S. address of PR                                                                                                                                                                  U.S. phone number of
                                                                                                                                                                                     PR

 If the PR is an entity, name of the designated individual for the PR
 U.S. address of                                                                                                                                                                     U.S. phone number of
 designated individual                                                                                                                                                               designated individual

 26        Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          X
           If “Yes,” enter the amount from Form 8996, line 16 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $
 27        Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
           interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 28        At any time during the tax year, were there any transfers between the partnership and its partners subject to the
           disclosure requirements of Regulations section 1.707-8? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               X
 29        Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
           constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
           purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
           the foreign corporation)? If “Yes,” list the ownership percentage by vote and by value. See instructions.
           Percentage:                                                            By Vote                                                                               By Value                                                                                           X
 DAA                                                                                                                                                                                                                                                         Form   1065 (2020)
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 Form 1065 (2020)                                      MASTER EQUITY GROUP, LLC                    XX-XXXXXXX                                                                                                                                                                                    Page 4
       Schedule K                                         Partners' Distributive Share Items                                                                                                                                                                                     Total amount
                                   1      Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                1              -46,051
                                   2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           2
                                   3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3a
                                    b Expenses from other rental activities (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           3b
                                    c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              3c
          Income (Loss)




                                   4 Guaranteed payments: a Services                          4a                                                                   b Capital                4b
                                      c Total. Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               4c
                                   5 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 5
                                   6 Dividends and dividend equivalents: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    6a
                                          b Qualified dividends 6b                                                                                  c Dividend equivalents 6c
                                   7      Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    7
                                   8      Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     8
                                  9a      Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    9a
                                   b      Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9b
                                   c      Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      9c
                                 10       Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               10
                                 11 Other income (loss) (see instructions) Type u                                                                                                                                                                                       11
          Deductions




                                 12 Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                12
                                 13a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            13a
                                     b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            13b
                                     c Section 59(e)(2) expenditures:(1) Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (2) Amount u                                          13c(2)
                                     d Other deductions (see instructions) Type u                                                                                                                                                                                       13d
                                                                                                                                                                                                                                                                                        -46,051
 Employ-




                                 14a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             14a
 ment




                                   b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  14b
 Self-




                                   c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           14c             503,661
                                 15a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               15a
                                   b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15b
          Credits




                                   c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . .                                                                                           15c
                                   d Other rental real estate credits (see instructions)                                              Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                15d
                                   e Other rental credits (see instructions)                                                          Type u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                15e
                                   f Other credits (see instructions)                                                                   Type u                                                                                                                          15f
                                 16a Name of country or U.S. possession u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                   b Gross income from all sources . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  16b
                                   c Gross income sourced at partner level . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          16c
          Foreign Transactions




                                     Foreign gross income sourced at partnership level
                                   d Reserved for future use u . . . . . . . . . . . . . . . . . . . . . . . . . . e Foreign branch category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u                                                              16e
                                     f Passive category u                ..........................                            g General category u                  ...........................                           h Other (att. statement) u                   16h
                                       Deductions allocated and apportioned at partner level
                                     i Interest expense u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . j   Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u                                         16j
                                       Deductions allocated and apportioned at partnership level to foreign source income
                                     k Reserved for future use u . . . . . . . . . . . . . . . . . . . . . . . . . .         l Foreign branch category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . u                                                    16l
                                     m Passive category u . . . . . . . . . . . . . . . . . . . . . . . . . . . n General category u . . . . . . . . . . . . . . . . . . . . . . . . . . . . . o Other u                                                                16o
                                     p Total foreign taxes (check one): u Paid                   Accrued                        ......................                                                                                                                  16p
                                     q Reduction in taxes available for credit (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         16q
                                     r Other foreign tax information (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                 17a      Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 17a
Other Information Minimum Tax
                  (AMT) Items




                                   b      Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 17b
                  Alternative




                                   c      Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              17c
                                   d      Oil, gas, and geothermal properties – gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    17d
                                   e Oil, gas, and geothermal properties – deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     17e
                                   f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       17f
                                 18a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               18a
                                   b      Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       18b
                                   c      Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE
                                                                                                                                                                           . . . . . . . . . STATEMENT
                                                                                                                                                                                             . . . . . . . . . . . . . . . . . . . . . .2
                                                                                                                                                                                                                                        .....                           18c                       158
                                 19a      Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             19a
                                   b      Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE. . . . . . . . . STATEMENT
                                                                                                                                                                                             . . . . . . . . . . . . . . . . . . . . . .3
                                                                                                                                                                                                                                        .....
                                                                                                                                                                                                                                                                        19b
                                 20a Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    20a
                                   b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        20b
                                   c Other items and amounts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 DAA                                                                                                                                                                                                                                                                                   Form   1065 (2020
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 Form 1065 (2020)                       MASTER EQUITY GROUP, LLC                    XX-XXXXXXX                                                                                                                                             Page 5
 Analysis of Net Income (Loss)
  1       Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p 1                                                                            -46,051
  2       Analysis by                                         (ii) Individual           (iii) Individual                                     (v) Exempt                                                                            (vi)
                                    (i) Corporate                                                              (iv) Partnership
          partner type:                                           (active)                  (passive)                                      Organization                                                                       Nominee/Other
   a General partners                                                                                                                                             -46,051
   b Limited partners
   Schedule L         Balance Sheets per Books                                                               Beginning of tax year                                                                            End of tax year
                                            Assets                                                     (a)                                     (b)                                               (c)                             (d)
  1       Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            115,610                                                                              24,157
  2a      Trade notes and accounts receivable . . . . . . . .                                                                                                                                                             0
   b      Less allowance for bad debts . . . . . . . . . . . . . . . .                                                                                                                                                                         0
  3       Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4       U.S. government obligations . . . . . . . . . . . . . . . . .
  5       Tax-exempt securities . . . . . . . . . . . . . . . . . . . . . . . .
  6       Other current assets
                                                    SEE STMT 4                                                                         2,052,602                                                                              1,750,032
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  7a Loans to partners (or persons related to partners) . .
   b Mortgage and real estate loans . . . . . . . . . . . . . .
  8 Other investments         SEE STMT 5                                                                                                      250,000                                                                            400,200
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  9a      Buildings and other depreciable assets . . . . . .                                           839,304                                                                          2,601,554
   b      Less accumulated depreciation . . . . . . . . . . . . . .                                     54,163                                785,141                                     196,892                             2,404,662
 10a      Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    b     Less accumulated depletion . . . . . . . . . . . . . . . . .
 11       Land (net of any amortization) . . . . . . . . . . . . . . .                                                                                3,000                                                                            3,000
 12a      Intangible assets (amortizable only) . . . . . . . . .                                       282,554                                                                                  282,554
    b     Less accumulated amortization . . . . . . . . . . . . . .                                     10,988                                271,566                                            29,825                          252,729
 13       Other assets
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 14       Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             3,477,919                                                                              4,834,780
                    Liabilities and Capital
 15       Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                                                             0
 16       Mortgages, notes, bonds payable in less than 1 year
 17       Other current liabilities
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 18       All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 19a Loans from partners (or persons related to partners)                                                                              2,340,000                                                                              3,757,022
   b Mortgages, notes, bonds payable in 1 year or more . . . . . .                                                                       527,595                                                                                499,436
 20 Other liabilities
          (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 21       Partners' capital accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             610,324                                                                                578,322
 22       Total liabilities and capital                       ....................                                                     3,477,919                                                                              4,834,780
   Schedule M-1                                    Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                                   Note: The partnership may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books . . . . . . . . . . . . .                                      -46,209        6     Income recorded on books this year not included
  2       Income included on Schedule K, lines 1, 2, 3c,                                                                  on Schedule K, lines 1 through 11 (itemize):
          5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                                                  a Tax-exempt interest $ . . . . . . . . . . . . . . . . . . . . . . . . . . .
          books this year
          (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   ...................................................
          ............................................                                                                       ...................................................
  3       Guaranteed payments (other than health insurance) . . . .                                                 7       Deductions included on Schedule K, lines 1 through 13d,
  4     Expenses recorded on books this year not                                                                            and 16p, not charged against book income this year (itemize):
        included on Schedule K, lines 1 through
        13d, and 16p (itemize):                                                                                         a Depreciation                 $   ..................................
      a Depreciation    $ ...........................                                                                        ...................................................
      b Travel and
        entertainment   $ . . . . . . . . . . . . . . . . . . . . 158
                                                                  .......                                                    ...................................................

          ............................................                                                              8       Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          ............................................                                                   158        9       Income (loss) (Analysis of Net Income
  5       Add lines 1 through 4                        ....................                          -46,051                (Loss), line 1). Subtract line 8 from line 5 . . . . . . . .                                         -46,051
   Schedule M-2                                    Analysis of Partners' Capital Accounts
  1       Balance at beginning of year . . . . . . . . . . . . .                                     610,324        6       Distributions: a Cash . . . . . . . . . . . . . . . . . . . . . . . . . . .
  2       Capital contributed: a Cash . . . . . . . . . . .                                                                                b Property . . . . . . . . . . . . . . . . . . . . . . .
                               b Property . . . . . . . .
                                                                                                     -46,209        7        Other decreases
  3       Net income (loss) per books                              .............                                             (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4       Other increases
                            SEE STMT 6
          (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 ...................................................
                                        14,207
          ............................................
                                                                                                      14,207        8       Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  5       Add lines 1 through 4                        ....................                          578,322        9       Balance at end of year. Subtract line 8 from line 5                                                  578,322
 DAA                                                                                                                                                                                                                            Form   1065 (2020)
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       PARTNER# 1                                                                                                                                                                                                                          651119
                                                                                                                                       X                  Final K-1                          Amended K-1                              OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2020                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2020, or tax year       1                Ordinary business income (loss)                15     Credits

                     beginning                                                           ending                                                                            -7,631
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.                     u See separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16     Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 MASTER EQUITY GROUP, LLC
                                                                                                                                        4c                  Total guaranteed payments
 2325 N. BURDICK ST.
 KALAMAZOO           MI 49007
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u
        E-FILE                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17     Alternative minimum tax (AMT) items
  E    Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                                                                                                                                       6c                   Dividend equivalents


  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 RAVINDER SINGH
                                                                                                                                           8                Net short-term capital gain (loss)
                                                                                                                                                                                                           18     Tax-exempt income and
                                                                                                                                                                                                                  nondeductible expenses
                                                                                                                                       9a                   Net long-term capital gain (loss)

                                                                                                                                                                                                           C*                               26
  G     X        General partner or LLC
                 member-manager
                                                                                            Limited partner or other LLC
                                                                                            member
                                                                                                                                       9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19     Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        PARTNERSHIP
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20     Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                         35.057000                             %                         35.057000                %
       Loss                           35.057000                             %                         35.057000                %
                                                                                                                                                                                                       AG*                                        STMT
                                                                                                                                       13                   Other deductions
       Capital                        35.057000                             %                         35.057000                %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $

       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                            475,179                        $                                          14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.                                      A                                   -7,631
  L                                            Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                                -32,628                  C                                   83,460
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                                  -7,657                22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . . . . $STMT                                   2,354                      *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                               )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                             -37,931
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X       No          If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                                         www.irs.gov/Form1065                                                                        Schedule K-1 (Form 1065) 2020
DAA
C0195 10/04/2021 9:20 PM                                 Case:22-00818-jtg                                      Doc #:22 Filed: 04/29/2022                                                   Page 14 of 54
       PARTNER# 2                                                                                                                                                                                                                          651119
                                                                                                                                       X                  Final K-1                          Amended K-1                              OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2020                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2020, or tax year       1                Ordinary business income (loss)                15     Credits

                     beginning                                                           ending                                                                                   -979
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.                     u See separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16     Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 MASTER EQUITY GROUP, LLC
                                                                                                                                        4c                  Total guaranteed payments
 2325 N. BURDICK ST.
 KALAMAZOO           MI 49007
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u
        E-FILE                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17     Alternative minimum tax (AMT) items
  E    Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                                                                                                                                       6c                   Dividend equivalents


  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 DAVID KEYTE
                                                                                                                                           8                Net short-term capital gain (loss)
                                                                                                                                                                                                           18     Tax-exempt income and
                                                                                                                                                                                                                  nondeductible expenses
                                                                                                                                       9a                   Net long-term capital gain (loss)

                                                                                                                                                                                                           C*                                  3
  G     X        General partner or LLC
                 member-manager
                                                                                            Limited partner or other LLC
                                                                                            member
                                                                                                                                       9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19     Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        PARTNERSHIP
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20     Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                             4.500000 %                                                     4.500000 %
       Loss                               4.500000 %                                                     4.500000 %                                                                                    AG*                                         STMT
                                                                                                                                       13                   Other deductions
       Capital                            4.500000 %                                                     4.500000 %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $

       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                                60,995                     $                                          14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.                                      A                                          -979
  L                                            Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                              -299,696                   C                                   10,713
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                                       -982             22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . . . . $STMT                                        302                   *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                              )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                           -300,376
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X       No          If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                                         www.irs.gov/Form1065                                                                        Schedule K-1 (Form 1065) 2020
DAA
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       PARTNER# 3                                                                                                                                                                                                                          651119
                                                                                                                                                          Final K-1                          Amended K-1                              OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2020                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2020, or tax year       1                Ordinary business income (loss)                15     Credits

                     beginning                                                           ending                                                                          -32,836
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.                     u See separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16     Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 MASTER EQUITY GROUP, LLC
                                                                                                                                        4c                  Total guaranteed payments
 2325 N. BURDICK ST.
 KALAMAZOO           MI 49007
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u
        E-FILE                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17     Alternative minimum tax (AMT) items
  E    Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                                                                                                                                       6c                   Dividend equivalents


  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 ADAM TUCKER
                                                                                                                                           8                Net short-term capital gain (loss)
                                                                                                                                                                                                           18     Tax-exempt income and
                                                                                                                                                                                                                  nondeductible expenses
                                                                                                                                       9a                   Net long-term capital gain (loss)

                                                                                                                                                                                                           C*                            113
  G     X        General partner or LLC
                 member-manager
                                                                                            Limited partner or other LLC
                                                                                            member
                                                                                                                                       9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19     Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        PARTNERSHIP
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20     Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                         50.444000                             %                         90.001000                %
       Loss                           50.444000                             %                         90.001000                %
                                                                                                                                                                                                       AG*                                        STMT
                                                                                                                                       13                   Other deductions
       Capital                        50.444000                             %                         90.001000                %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $

       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                    2,044,690                              $            3,830,855                     14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.                                      A                                 -32,836
  L                                            Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                              -216,440                   C                                 359,127
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                               -32,949                  22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . . . . $STMT                                10,130                        *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                               )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                           -239,259
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X       No          If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                                         www.irs.gov/Form1065                                                                        Schedule K-1 (Form 1065) 2020
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       PARTNER# 4                                                                                                                                                                                                                          651119
                                                                                                                                                          Final K-1                          Amended K-1                              OMB No. 1545-0123
Schedule K-1
(Form 1065)
                                                                                                            2020                               Part III                 Partner's Share of Current Year Income,
Department of the Treasury
                                                                                                                                                                        Deductions, Credits, and Other Items
Internal Revenue Service                                                                         For calendar year 2020, or tax year       1                Ordinary business income (loss)                15     Credits

                     beginning                                                           ending                                                                            -4,605
                                                                                                                                           2                Net rental real estate income (loss)
Partner's Share of Income, Deductions,
Credits, etc.                     u See separate instructions.
                                                                                                                                           3                Other net rental income (loss)                 16     Foreign transactions
       Part I                 Information About the Partnership
  A    Partnership's employer identification number
                                                                                                                                        4a                  Guaranteed payments for services
       XX-XXXXXXX
  B    Partnership's name, address, city, state, and ZIP code                                                                          4b                   Guaranteed payments for capital
 MASTER EQUITY GROUP, LLC
                                                                                                                                        4c                  Total guaranteed payments
 2325 N. BURDICK ST.
 KALAMAZOO           MI 49007
                                                                                                                                           5                Interest income
  C    IRS Center where partnership filed return                        u
        E-FILE                                                                                                                         6a                   Ordinary dividends

  D              Check if this is a publicly traded partnership (PTP)
                                                                                                                                       6b                   Qualified dividends
       Part II                Information About the Partner                                                                                                                                                17     Alternative minimum tax (AMT) items
  E    Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
                                                                                                                                       6c                   Dividend equivalents


  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                7                Royalties
 RICK MCDOWELL
                                                                                                                                           8                Net short-term capital gain (loss)
                                                                                                                                                                                                           18     Tax-exempt income and
                                                                                                                                                                                                                  nondeductible expenses
                                                                                                                                       9a                   Net long-term capital gain (loss)

                                                                                                                                                                                                           C*                               16
  G     X        General partner or LLC
                 member-manager
                                                                                            Limited partner or other LLC
                                                                                            member
                                                                                                                                       9b                   Collectibles (28%) gain (loss)

  H1    X        Domestic partner                                                           Foreign partner
                                                                                                                                       9c                   Unrecaptured section 1250 gain
  H2             If the partner is a disregarded entity (DE), enter the partner’s:

        TIN                                                                                                                            10                   Net section 1231 gain (loss)
                                                                                                                                                                                                           19     Distributions
        Name
                                                                                                                                       11                   Other income (loss)
  I1   What type of entity is this partner?                        PARTNERSHIP
  I2   If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J    Partner's
       .         share of profit, loss, and capital (see instructions):                                                                                                                                    20     Other information
                             Beginning                                                                 Ending
                                                                                                                                       12                   Section 179 deduction
       Profit                             9.999000 %                                                     9.999000 %
       Loss                               9.999000 %                                                     9.999000 %                                                                                    AG*                                        STMT
                                                                                                                                       13                   Other deductions
       Capital                            9.999000 %                                                     9.999000 %
       Check if decrease is due to sale or exchange of partnership interest . . . . . . . . . . . . . . . . .
  K    Partner's share of liabilities:                        Beginning                                Ending
       Nonrecourse . . . . . $                                                              $

       Qualified nonrecourse
       financing           $                                                                $

       Recourse . . . . . . . . $                            286,731                        $                 425,603                  14                   Self-employment earnings (loss)
                Check this box if Item K includes liability amounts from lower tier partnerships.                                      A                                   -4,605
  L                                            Partner's Capital Account Analysis

       Beginning capital account . . . . . . . . . . . . . . . . . . . . . . $                           1,159,088                     C                                   50,361
       Capital contributed during the year . . . . . . . . . . . . . . . . . $                                                         21                       More than one activity for at-risk purposes*

       Current year net income (loss) . . . . . . . . . . . . . . . . . . . . $                                  -4,621                22                       More than one activity for passive activity purposes*

       Other increase (decrease) (attach explanation) . . . . . . . . . . $STMT                                   1,421                      *See attached statement for additional information.
       Withdrawals & distributions . . . . . . . . . . . . . . . . . . . . . . . $ (                                              )
                                                                                                                                       For IRS Use Only




       Ending capital account . . . . . . . . . . . . . . . . . . . . . . . . . $                        1,155,888
  M    Did the partner contribute property with a built-in gain or loss?

                 Yes                    X       No          If "Yes," attach statement. See instructions.
  N                    Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
       Ending . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                                         www.irs.gov/Form1065                                                                        Schedule K-1 (Form 1065) 2020
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 SCHEDULE B-1
 (Form 1065)
                                                             Information on Partners Owning 50% or
                                                                     More of the Partnership                                                                             OMB No. 1545-0123
 (Rev. August 2019)                                                                   u Attach to Form 1065.
 Department of the Treasury                                       u Go to www.irs.gov/Form1065 for the latest information.
 Internal Revenue Service

 Name of partnership                                                                                                                               Employer identification number (EIN)
   MASTER EQUITY GROUP, LLC                                                                                                                       XX-XXXXXXX
  Part I            Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
                    2009 through 2017))
 Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
 partnership), trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in
 the profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                                               (v) Maximum
                                        (ii) Employer
                                                                                                                                       (iv)                                 Percentage Owned
       (i) Name of Entity           Identification Number                   (iii) Type of Entity
                                                                                                                             Country of Organization                          in Profit, Loss,
                                             (if any)
                                                                                                                                                                                or Capital

   ADAM TUCKER
                                                                 PARTNERSHIP                                      UNITED STATES                                            90.001000




  Part II           Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                    (Question 3b for 2009 through 2017))
 Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the
 profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                                              (iv) Maximum
                                                                                        (ii) Identifying Number                                                           Percentage Owned in
                              (i) Name of Individual or Estate                                                     (iii) Country of Citizenship (see instructions)
                                                                                                 (if any)                                                                      Profit, Loss,
                                                                                                                                                                                 or Capital




 For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                                                    Schedule B-1 (Form 1065) (Rev. 8-2019)




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                                                                                                      Depreciation and Amortization                                                                                                     OMB No. 1545-0172
 Form       4562                                                                                    (Including Information on Listed Property)
 Department of the Treasury
                                                                                                             u Attach to your tax return.                                                                                                    2020
                                                                                                                                                                                                                                         Attachment
 Internal Revenue Service                  (99)                           u Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                                      Sequence No.      179
 Name(s) shown on return                                                                                                                                                                                           Identifying number
      MASTER EQUITY GROUP, LLC                                                                                                                                                                                     XX-XXXXXXX
 Business or activity to which this form relates
      REAL ESTATE
    Part I                  Election To Expense Certain Property Under Section 179
                            Note: If you have any listed property, complete Part V before you complete Part I.
  1        Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1         1,040,000
  2        Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2
  3        Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           3         2,590,000
  4        Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           4
  5        Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions . . . . . . . . . . .                                                        5
  6                                                 (a) Description of property                                                                 (b) Cost (business use only)                           (c) Elected cost




  7    Listed property. Enter the amount from line 29 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  7
  8    Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             8
  9    Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             9
 10    Carryover of disallowed deduction from line 13 of your 2019 Form 4562 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 10
 11    Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions . . . . . .                                                                                         11
 12    Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                12
 13    Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12 . . . . . . . . . . . . .                                        13
 Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II                 Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
 14        Special depreciation allowance for qualified property (other than listed property) placed in service
           during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   14
 15        Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            15
 16        Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     16                   99,425
    Part III                MACRS Depreciation (Don’t include listed property. See instructions.)
                                                                                                                                  Section A
 17        MACRS deductions for assets placed in service in tax years beginning before 2020 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          17                                   0
 18        If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here . . . . . . . . . . . .                                           u
                                              Section B—Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                            (b) Month and year                   (c) Basis for depreciation                 (d) Recovery
                (a) Classification of property                                   placed in                       (business/investment use                                          (e) Convention                  (f) Method        (g) Depreciation deduction
                                                                                  service                          only–see instructions)                       period

 19a  3-year property
   b 5-year property
   c 7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                                                                                S/L                                      25 yrs.
      h Residential rental                                                                           MM              S/L                                     27.5 yrs.
        property                                                                                     MM              S/L                                     27.5 yrs.
      i    Nonresidential real             01/01/20                1,757,179                         MM              S/L                                      39 yrs.                                                                             43,179
           property                        01/01/20                       5,071 39.0                 MM              S/L                                                                                                                             125
                             Section C—Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
 20a       Class life                                                                                                S/L
   b       12-year                                                                    12 yrs.                        S/L
   c       30-year                                                                    30 yrs.        MM              S/L
   d       40-year                                                                    40 yrs.        MM              S/L
    Part IV                 Summary (See instructions.)
 21   Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  21
 22   Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
      here and on the appropriate lines of your return. Partnerships and S corporations—see instructions . . . . . . . . . . . . . . . . . . .                                                                                  22              142,729
 23   For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     23
 For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                            Form   4562 (2020)
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C0195 10/04/2021 9:20 PM                                                                                              Doc #:22 Filed: 04/29/2022                                                              Page 19 of 54
    MASTER EQUITY GROUP, LLC                                                                                                   XX-XXXXXXX
 Form 4562 (2020)                                                                                                                                                                                                                                                                                  Page   2
   Part V                    Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
                             entertainment, recreation, or amusement.)
                             Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
                             24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                                   Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24a      Do you have evidence to support the business/investment use claimed?                                                                       Yes                 No            24b         If "Yes," is the evidence written?                                                  Yes            No
          (a)                          (b)                             (c)                                      (d)                                    (e)                               (f)                     (g)                                     (h)                                 (i)
                                                                    Business/
   Type of property               Date placed                    investment use                     Cost or other basis                      Basis for depreciation                   Recovery                 Method/                            Depreciation                    Elected section 179
  (list vehicles first)            in service                      percentage                                                                (business/investment                      period                 Convention                           deduction                              cost
                                                                                                                                                   use only)

 25       Special depreciation allowance for qualified listed property placed in service during
          the tax year and used more than 50% in a qualified business use. See instructions                                                                                 .......................                           25
 26       Property used more than 50% in a qualified business use:


                                                                                        %

                                                   %
 27       Property used 50% or less in a qualified business use:


                                                                                        %                                                                                                                   S/L-


                                                   %                                                                                              S/L-
 28       Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . . . . . . . . . . . . . . . . . . . . .                             28
 29       Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              29
                                                          Section B—Information on Use of Vehicles
 Complete this section for vehicles used by a sole proprietor, partner, or other “more than 5% owner,” or related person. If you provided vehicles
 to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                                                                                  (a)                            (b)                             (c)                            (d)                             (e)                          (f)
                                                                                                                             Vehicle 1                      Vehicle 2                       Vehicle 3                      Vehicle 4                       Vehicle 5                     Vehicle 6
 30       Total business/investment miles driven during
          the year (don't include commuting miles) . . . . . . . . . . .
 31       Total commuting miles driven during the year . . . . . . .
 32       Total other personal (noncommuting)
          miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33       Total miles driven during the year. Add
          lines 30 through 32 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34       Was the vehicle available for personal                                                                        Yes              No            Yes               No            Yes              No            Yes              No             Yes              No          Yes              No
          use during off-duty hours? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 35       Was the vehicle used primarily by a more
          than 5% owner or related person? . . . . . . . . . . . . . . . . . .
 36       Is another vehicle available for personal use? . . . . . .
                                Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
 Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
 more than 5% owners or related persons. See instructions.
 37       Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by                                                                                                                                                          Yes              No
          your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38       Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
          employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 39       Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40       Do you provide more than five vehicles to your employees, obtain information from your employees about the
          use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 41       Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          Note: If your answer to 37, 38, 39, 40, or 41 is “Yes,” don’t complete Section B for the covered vehicles.
   Part VI                   Amortization
                                                                                                                                                                                                                                          (e)
                                           (a)                                                              (b)                                                    (c)                                        (d)                                                                  (f)
                                                                                                                                                                                                                                      Amortization
                                                                                                     Date amortization
                               Description of costs                                                                                                    Amortizable amount                              Code section                    period or                      Amortization for this year
                                                                                                          begins
                                                                                                                                                                                                                                      percentage

 42       Amortization of costs that begins during your 2020 tax year (see instructions):



 43       Amortization of costs that began before your 2020 tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        43                               18,837
 44       Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      44                               18,837
 DAA                                                                                                                                                                                                                                                                            Form   4562 (2020)
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                 Statement 1 - Form 1065, Page 1, Line 20 - Other Deductions
          Description                        Amount
UTILITIES                               $      234,745
LEGAL FEES                                     103,871
PROFESSIONAL FEES                               64,150
INSURANCE                                       55,881
COMPUTER EXPENSE                                44,934
ADVERTISING & MARKETING                         11,039
PAYROLL BENEFITS                                 8,149
INTERNET                                         5,819
SECURITY                                         3,988
OFFICE SUPPLIES                                  2,636
BANK FEES                                        2,007
NET ATC ADJUSTMENT                            -521,285
MEALS (50%)                                        158
AMORTIZATION                                    18,837
     TOTAL                              $       34,929


          Statement 2 - Form 1065, Schedule K, Line 18c - Nondeductible Expenses
                          Description                                      Amount
NONDEDUCTIBLE MEALS                                                  $              158
     TOTAL                                                           $              158


       Statement 3 - Form 1065, Schedule K, Line 19b - Distributions of Other Property
                                            Adjusted            Fair Market
     Description of Property                 Basis                 Value
TRANSFER OF CAPITAL                     $                   $
     TOTAL                              $               0


             Statement 4 - Form 1065, Schedule L, Line 6 - Other Current Assets
                                            Beginning              End
          Description                        of Year             of Year
LEASEHOLD IMPROVEMENTS WIP              $      993,952      $    1,200,789
N/R - BIG                                                          383,991
N/R - MEM                                                           88,114
DUE FROM RELATED COMPANIES                     730,620              58,497
N/R - HGB                                                           18,641
STARTUP COSTS WIP                              328,030
     TOTAL                              $    2,052,602      $    1,750,032




                                                                                          1-4
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                    Statement 5 - Form 1065, Schedule L, Line 8 - Other Investments
                                                Beginning              End
                Description                      of Year             of Year
KL - INVESTMENT                             $      250,000      $      400,200
     TOTAL                                  $      250,000      $      400,200


                    Statement 6 - Form 1065, Schedule M-2, Line 4 - Other Increases
                              Description                                      Amount
PY/RE                                                                    $        14,207
        TOTAL                                                            $        14,207




                                                                                           5-6
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                      Schedule K-1, Item L - Other Increases (Decreases)
                          Description                                      Amount
PY/RE                                                                 $        2,354
        TOTAL                                                         $        2,354


            Schedule K-1, Line 18 - Tax-Exempt Income and Nondeductible Expenses
Code                                    Description                                 Amount
C           NONDEDUCTIBLE MEALS                                                $             26

                          Schedule K-1, Line 20 - Other Information
Code                                    Description                                 Amount
AG          GROSS RECEIPTS FOR 2019                                            $        6,991
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                      Schedule K-1, Item L - Other Increases (Decreases)
                          Description                                      Amount
PY/RE                                                                 $             302
        TOTAL                                                         $             302


            Schedule K-1, Line 18 - Tax-Exempt Income and Nondeductible Expenses
Code                                    Description                                   Amount
C           NONDEDUCTIBLE MEALS                                                $                 3

                          Schedule K-1, Line 20 - Other Information
Code                                    Description                                   Amount
AG          GROSS RECEIPTS FOR 2019                                            $               897
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FYE: 12/31/2020                     Adam Tucker


                      Schedule K-1, Item L - Other Increases (Decreases)
                          Description                                      Amount
PY/RE                                                                 $       10,130
        TOTAL                                                         $       10,130


            Schedule K-1, Line 18 - Tax-Exempt Income and Nondeductible Expenses
Code                                    Description                                 Amount
C           NONDEDUCTIBLE MEALS                                                $             113

                          Schedule K-1, Line 20 - Other Information
Code                                    Description                                 Amount
AG          GROSS RECEIPTS FOR 2019                                            $       30,082
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                      Schedule K-1, Item L - Other Increases (Decreases)
                          Description                                      Amount
PY/RE                                                                 $        1,421
        TOTAL                                                         $        1,421


            Schedule K-1, Line 18 - Tax-Exempt Income and Nondeductible Expenses
Code                                    Description                                 Amount
C           NONDEDUCTIBLE MEALS                                                $             16

                          Schedule K-1, Line 20 - Other Information
Code                                    Description                                 Amount
AG          GROSS RECEIPTS FOR 2019                                            $        4,218
C0195 10/04/2021 9:20 PM           Case:22-00818-jtg                Doc #:22 Filed: 04/29/2022             Page 26 of 54
                                                                 Self-Employment Worksheet
           Schedule   K                                                                                                                     2020
                                       For calendar year 2020, or tax year beginning            , and ending
 Partnership Name                                                                                                          Employer Identification Number

     MASTER EQUITY GROUP, LLC                                                                                              XX-XXXXXXX
                                                                                                        Schedule K-1 Passthrough
                                   Activity Description                                           EIN                      Entity Type
A         REAL ESTATE
B
 C

                                                                                                 A                     B                        C


     1a.     Ordinary business income (loss) (Schedule K, line 1)                               -46,051
      b.     Net income (loss) from certain rental real estate activities (see instructions)
      c.     Other net rental income (loss) (Schedule K, line 3c)
      d.     Net loss from Form 4797, Part II, line 17, included on line 1a above.
             Enter as a positive amount.
      e.     Combine lines 1a through 1d                                                        -46,051
     2.      Net gain from Form 4797, Part II, line 17, included on line 1a above
     3a.     Subtract line 2 from line 1e. If line 1e is a loss, increase the loss on
             line 1e by the amount on line 2.                                                   -46,051
      b.     Part of line 3a allocated to limited partners, estates, trusts, corporations,
             exempt organizations, and IRAs
      c.     Subtract line 3b from line 3a. If line 3a is a loss, reduce the loss on line 3a
             by the amount on line 3b. Include each individual general partner's
             share in box 14 of Schedule K-1, using code A.                                     -46,051
     4a.     Guaranteed payments to partners (Schedule K, line 4c) derived from a trade
             or business as defined in section 1402(c) (see instructions)
      b.     Part of line 4a allocated to individual limited partners for other than services
             and to estates, trusts, corporations, exempt organizations, and IRAs
      c.     Subtract line 4b from line 4a. Include each individual general partner's
             share and each individual limited partner's share in box 14 of
             Schedule K-1, using code A.
     5.      Net earnings (loss) from self-employment. Combine lines 3c and 4c.
             Enter here and on Schedule K, line 14a.                                            -46,051




                                                                                                                                         PAGE 1 OF 1
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      PARTNER# 1
                           Analysis of Partner's K-1, Current Year Net Income (Loss) Worksheet
     Schedule    K-1                                                                                                        2020
                                 For calendar year 2020, or tax year beginning        , and ending
 Partnership Name                                                                                         Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                              XX-XXXXXXX
 Partner's Name                                                                                           Taxpayer Identification Number
   RAVINDER SINGH
 Items Included in Current Year Income (Loss):
   SCHEDULE K ADDITIONS:
     ORDINARY INCOME/LOSS                                                                                              -7,631
                                                                                                                 ____________
                                                                                 SUBTOTAL                              -7,631
                                                                                                                 ____________
   SUBTRACTIONS:
     MEALS                                                                                                                 26
                                                                                                                 ____________
                                                                                 SUBTOTAL                                  26
                                                                                                                 ____________
   TOTAL PER SCHEDULE K-1, CURRENT YEAR NET INCOME (LOSS)                                                              -7,657
                                                                                                                 ============




                                                                                                                    PAGE 1 OF 1
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      PARTNER# 2
                           Analysis of Partner's K-1, Current Year Net Income (Loss) Worksheet
     Schedule    K-1                                                                                                        2020
                                 For calendar year 2020, or tax year beginning        , and ending
 Partnership Name                                                                                         Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                              XX-XXXXXXX
 Partner's Name                                                                                           Taxpayer Identification Number
   DAVID KEYTE
 Items Included in Current Year Income (Loss):
   SCHEDULE K ADDITIONS:
     ORDINARY INCOME/LOSS                                                                                                -979
                                                                                                                 ____________
                                                                                 SUBTOTAL                                -979
                                                                                                                 ____________
   SUBTRACTIONS:
     MEALS                                                                                                                  3
                                                                                                                 ____________
                                                                                 SUBTOTAL                                   3
                                                                                                                 ____________
   TOTAL PER SCHEDULE K-1, CURRENT YEAR NET INCOME (LOSS)                                                                -982
                                                                                                                 ============




                                                                                                                    PAGE 1 OF 1
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      PARTNER# 3
                           Analysis of Partner's K-1, Current Year Net Income (Loss) Worksheet
     Schedule    K-1                                                                                                        2020
                                 For calendar year 2020, or tax year beginning        , and ending
 Partnership Name                                                                                         Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                              XX-XXXXXXX
 Partner's Name                                                                                           Taxpayer Identification Number
   ADAM TUCKER
 Items Included in Current Year Income (Loss):
   SCHEDULE K ADDITIONS:
     ORDINARY INCOME/LOSS                                                                                             -32,836
                                                                                                                 ____________
                                                                                 SUBTOTAL                             -32,836
                                                                                                                 ____________
   SUBTRACTIONS:
     MEALS                                                                                                                113
                                                                                                                 ____________
                                                                                 SUBTOTAL                                 113
                                                                                                                 ____________
   TOTAL PER SCHEDULE K-1, CURRENT YEAR NET INCOME (LOSS)                                                             -32,949
                                                                                                                 ============




                                                                                                                    PAGE 1 OF 1
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      PARTNER# 4
                           Analysis of Partner's K-1, Current Year Net Income (Loss) Worksheet
     Schedule    K-1                                                                                                        2020
                                 For calendar year 2020, or tax year beginning        , and ending
 Partnership Name                                                                                         Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                              XX-XXXXXXX
 Partner's Name                                                                                           Taxpayer Identification Number
   RICK MCDOWELL
 Items Included in Current Year Income (Loss):
   SCHEDULE K ADDITIONS:
     ORDINARY INCOME/LOSS                                                                                              -4,605
                                                                                                                 ____________
                                                                                 SUBTOTAL                              -4,605
                                                                                                                 ____________
   SUBTRACTIONS:
     MEALS                                                                                                                 16
                                                                                                                 ____________
                                                                                 SUBTOTAL                                  16
                                                                                                                 ____________
   TOTAL PER SCHEDULE K-1, CURRENT YEAR NET INCOME (LOSS)                                                              -4,621
                                                                                                                 ============




                                                                                                                    PAGE 1 OF 1
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          PARTNER# 1
                                                         Partner's Self-Employment Worksheet
          Schedule   K-1                                                                                                                   2020
                                       For calendar year 2020, or tax year beginning            , and ending
 Partnership Name                                                                                                        Employer Identification Number
     MASTER EQUITY GROUP, LLC                                                                                            XX-XXXXXXX
 Partner's Name                                                                                                          Taxpayer Identification Number
     RAVINDER SINGH
                                                                                    Activity               Schedule K-1 Passthrough
                                  Activity Description                             Disposed      EIN                     Entity Type               PTP
A         REAL ESTATE
B
 C


                                                                                                A                    B                       C

     1a.     Ordinary business income (loss) (Schedule K, line 1)                               -7,631
      b.     Net income (loss) from certain rental real estate activities (see instructions)
      c.     Other net rental income (loss) (Schedule K, line 3c)
      d.     Net loss from Form 4797, Part II, line 17, included on line 1a above.
             Enter as a positive amount.
      e.     Combine lines 1a through 1d                                                        -7,631
     2.      Net gain from Form 4797, Part II, line 17, included on line 1a above
     3a.     Subtract line 2 from line 1e. If line 1e is a loss, increase the loss on line 1e
             by the amount on line 2.                                                           -7,631
     4a.     Guaranteed payments to partners (Schedule K, line 4c) derived from a trade or
             business as defined in section 1402(c) (see instructions)
     5.      Net earnings (loss) from self-employment. Combine lines 3a and 4a. Enter
             here and on Schedule K-1, Box 14, code A.                                          -7,631




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          PARTNER# 2
                                                         Partner's Self-Employment Worksheet
          Schedule   K-1                                                                                                                   2020
                                       For calendar year 2020, or tax year beginning            , and ending
 Partnership Name                                                                                                        Employer Identification Number
     MASTER EQUITY GROUP, LLC                                                                                            XX-XXXXXXX
 Partner's Name                                                                                                          Taxpayer Identification Number
     DAVID KEYTE
                                                                                    Activity               Schedule K-1 Passthrough
                                  Activity Description                             Disposed      EIN                     Entity Type               PTP
A         REAL ESTATE
B
 C


                                                                                                A                    B                       C

     1a.     Ordinary business income (loss) (Schedule K, line 1)                                   -979
      b.     Net income (loss) from certain rental real estate activities (see instructions)
      c.     Other net rental income (loss) (Schedule K, line 3c)
      d.     Net loss from Form 4797, Part II, line 17, included on line 1a above.
             Enter as a positive amount.
      e.     Combine lines 1a through 1d                                                            -979
     2.      Net gain from Form 4797, Part II, line 17, included on line 1a above
     3a.     Subtract line 2 from line 1e. If line 1e is a loss, increase the loss on line 1e
             by the amount on line 2.                                                               -979
     4a.     Guaranteed payments to partners (Schedule K, line 4c) derived from a trade or
             business as defined in section 1402(c) (see instructions)
     5.      Net earnings (loss) from self-employment. Combine lines 3a and 4a. Enter
             here and on Schedule K-1, Box 14, code A.                                              -979




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          PARTNER# 3
                                                         Partner's Self-Employment Worksheet
          Schedule   K-1                                                                                                                    2020
                                       For calendar year 2020, or tax year beginning             , and ending
 Partnership Name                                                                                                         Employer Identification Number
     MASTER EQUITY GROUP, LLC                                                                                             XX-XXXXXXX
 Partner's Name                                                                                                           Taxpayer Identification Number
     ADAM TUCKER
                                                                                    Activity                Schedule K-1 Passthrough
                                  Activity Description                             Disposed       EIN                     Entity Type               PTP
A         REAL ESTATE
B
 C


                                                                                                 A                    B                       C

     1a.     Ordinary business income (loss) (Schedule K, line 1)                               -32,836
      b.     Net income (loss) from certain rental real estate activities (see instructions)
      c.     Other net rental income (loss) (Schedule K, line 3c)
      d.     Net loss from Form 4797, Part II, line 17, included on line 1a above.
             Enter as a positive amount.
      e.     Combine lines 1a through 1d                                                        -32,836
     2.      Net gain from Form 4797, Part II, line 17, included on line 1a above
     3a.     Subtract line 2 from line 1e. If line 1e is a loss, increase the loss on line 1e
             by the amount on line 2.                                                           -32,836
     4a.     Guaranteed payments to partners (Schedule K, line 4c) derived from a trade or
             business as defined in section 1402(c) (see instructions)
     5.      Net earnings (loss) from self-employment. Combine lines 3a and 4a. Enter
             here and on Schedule K-1, Box 14, code A.                                          -32,836




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          PARTNER# 4
                                                         Partner's Self-Employment Worksheet
          Schedule   K-1                                                                                                                   2020
                                       For calendar year 2020, or tax year beginning            , and ending
 Partnership Name                                                                                                        Employer Identification Number
     MASTER EQUITY GROUP, LLC                                                                                            XX-XXXXXXX
 Partner's Name                                                                                                          Taxpayer Identification Number
     RICK MCDOWELL
                                                                                    Activity               Schedule K-1 Passthrough
                                  Activity Description                             Disposed      EIN                     Entity Type               PTP
A         REAL ESTATE
B
 C


                                                                                                A                    B                       C

     1a.     Ordinary business income (loss) (Schedule K, line 1)                               -4,605
      b.     Net income (loss) from certain rental real estate activities (see instructions)
      c.     Other net rental income (loss) (Schedule K, line 3c)
      d.     Net loss from Form 4797, Part II, line 17, included on line 1a above.
             Enter as a positive amount.
      e.     Combine lines 1a through 1d                                                        -4,605
     2.      Net gain from Form 4797, Part II, line 17, included on line 1a above
     3a.     Subtract line 2 from line 1e. If line 1e is a loss, increase the loss on line 1e
             by the amount on line 2.                                                           -4,605
     4a.     Guaranteed payments to partners (Schedule K, line 4c) derived from a trade or
             business as defined in section 1402(c) (see instructions)
     5.      Net earnings (loss) from self-employment. Combine lines 3a and 4a. Enter
             here and on Schedule K-1, Box 14, code A.                                          -4,605




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   PARTNER# 1
                                                                                                         Partner's Basis Worksheet, Page 1
      Schedule             K-1                                                                                                                                                                                                                                         2020
                                                                  For calendar year 2020, or tax year beginning                                                                               , and ending
 Partnership Name                                                                                                                                                                                                                                    Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                                                                                                                                                                          XX-XXXXXXX
 Partner's Name                                                                                                                                                                                                                                      Taxpayer Identification Number
   RAVINDER SINGH
   Beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            1,362,346
           Capital contributions: Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Income items:             Ordinary business income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net rental real estate income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Tax-exempt interest and other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . .
           Excess depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Transfer of capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Gain on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Distributions:            Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           (                          )
           Change in liabilities: Current year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Prior year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (                             1,118,362 )                                        -1,118,362
   Subtotal            ............................................................................................................................                                                                                                                   243,984
           Distribution in excess of partner basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Noncapital expenses: Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         26
           Deductible losses:        Ordinary business loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              7,631
                                     Net rental real estate loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Portfolio income deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Foreign taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Loss on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                       7,631
           Other decreases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

   End of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      236,327
                               Note to partner: This worksheet was prepared based on partnership records. Please consult with your tax advisor for adjustments.
C0195 10/04/2021 9:20 PM                                  Case:22-00818-jtg                                              Doc #:22 Filed: 04/29/2022                                                                  Page 36 of 54
   PARTNER# 2
                                                                                                         Partner's Basis Worksheet, Page 1
      Schedule             K-1                                                                                                                                                                                                                                         2020
                                                                  For calendar year 2020, or tax year beginning                                                                               , and ending
 Partnership Name                                                                                                                                                                                                                                    Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                                                                                                                                                                          XX-XXXXXXX
 Partner's Name                                                                                                                                                                                                                                      Taxpayer Identification Number
   DAVID KEYTE
   Beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             174,660
           Capital contributions: Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Income items:             Ordinary business income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net rental real estate income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Tax-exempt interest and other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . .
           Excess depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Transfer of capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Gain on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Distributions:            Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           (                          )
           Change in liabilities: Current year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Prior year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (                                     143,380 )                                  -143,380
   Subtotal            ............................................................................................................................                                                                                                                    31,280
           Distribution in excess of partner basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Noncapital expenses: Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           3
           Deductible losses:        Ordinary business loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       979
                                     Net rental real estate loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Portfolio income deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Foreign taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Loss on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           979
           Other decreases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

   End of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       30,298
                               Note to partner: This worksheet was prepared based on partnership records. Please consult with your tax advisor for adjustments.
C0195 10/04/2021 9:20 PM                                  Case:22-00818-jtg                                              Doc #:22 Filed: 04/29/2022                                                                  Page 37 of 54
   PARTNER# 3
                                                                                                         Partner's Basis Worksheet, Page 1
      Schedule             K-1                                                                                                                                                                                                                                         2020
                                                                  For calendar year 2020, or tax year beginning                                                                               , and ending
 Partnership Name                                                                                                                                                                                                                                    Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                                                                                                                                                                          XX-XXXXXXX
 Partner's Name                                                                                                                                                                                                                                      Taxpayer Identification Number
   ADAM TUCKER
   Beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           1,956,188
           Capital contributions: Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Income items:             Ordinary business income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net rental real estate income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Tax-exempt interest and other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . .
           Excess depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Transfer of capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Gain on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Distributions:            Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           (                          )
           Change in liabilities: Current year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    3,830,855
                                     Prior year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (                             1,605,853 )                                        2,225,002
   Subtotal            ............................................................................................................................                                                                                                                4,181,190
           Distribution in excess of partner basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Noncapital expenses: Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       113
           Deductible losses:        Ordinary business loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          32,836
                                     Net rental real estate loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Portfolio income deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Foreign taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Loss on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                     32,836
           Other decreases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

   End of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   4,148,241
                               Note to partner: This worksheet was prepared based on partnership records. Please consult with your tax advisor for adjustments.
C0195 10/04/2021 9:20 PM                                  Case:22-00818-jtg                                              Doc #:22 Filed: 04/29/2022                                                                  Page 38 of 54
   PARTNER# 4
                                                                                                         Partner's Basis Worksheet, Page 1
      Schedule             K-1                                                                                                                                                                                                                                         2020
                                                                  For calendar year 2020, or tax year beginning                                                                               , and ending
 Partnership Name                                                                                                                                                                                                                                    Employer Identification Number
   MASTER EQUITY GROUP, LLC                                                                                                                                                                                                                          XX-XXXXXXX
 Partner's Name                                                                                                                                                                                                                                      Taxpayer Identification Number
   RICK MCDOWELL
   Beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0
           Capital contributions: Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Income items:             Ordinary business income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net rental real estate income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 gain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Tax-exempt interest and other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . .
           Excess depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Transfer of capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Gain on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Distributions:            Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Property (adjusted basis) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           (                          )
           Change in liabilities: Current year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            425,603
                                     Prior year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (                                                                    )             425,603
   Subtotal            ............................................................................................................................                                                                                                                  425,603
           Distribution in excess of partner basis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Noncapital expenses: Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         16
           Deductible losses:        Ordinary business loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              4,605
                                     Net rental real estate loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other net rental loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net short-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net long-term capital loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Net section 1231 loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other portfolio loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Portfolio income deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Foreign taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Loss on disposition of section 179 assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                     Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                       4,605
           Other decreases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

   End of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     420,982
                               Note to partner: This worksheet was prepared based on partnership records. Please consult with your tax advisor for adjustments.
C0195 10/04/2021 9:20 PM                 Case:22-00818-jtg            Doc #:22 Filed: 04/29/2022            Page 39 of 54
                                                              Schedule K-1 Summary Worksheet
        Form      1065                                                                                                                        2020
                                           For calendar year 2020, or tax year beginning          , and ending
 Partnership Name                                                                                                           Employer Identification Number

    MASTER EQUITY GROUP, LLC                                                                                                XX-XXXXXXX
                                                               Partner Name                                      SSN/EIN
 Column A . . . . . . . . . . . . . .   RAVINDER SINGH
 Column B . . . . . . . . . . . . .     DAVID KEYTE
 Column C          .............        ADAM TUCKER
 Column D          .............        RICK MCDOWELL

      Schedule K Items                     Column A                 Column B               Column C              Column D             SCH K TOTAL
 1     Ordinary income                         -7,631                        -979           -32,836                 -4,605                -46,051
 2     Net income-rent
 3c      Net inc-oth rent
 4a      Guar pmts services
 4b      Guar pmts capital
 5       Interest income
 6a      Ordinary dividends
 6b      Qual dividends
 6c      Dividend equivalents
 7       Royalties
 8       Net ST capital gain
 9a      Net LT capital gain
 9b      Collectibles 28% gain
 9c      Unrecap sec 1250
 10      Net sec 1231 gain
 11      Other income
 12      Sec 179 deduction
 13a     Contributions
 13b     Invest interest exp
 13c     Sec 59(e)(2) exp
 13d     Other deductions
 14a     Net SE earnings                       -7,631                        -979           -32,836                 -4,605                    -46,051
 14b Gross farming inc
 14c Gross nonfarm inc                         83,460                    10,713             359,127                 50,361                    503,661
 15a Low-inc house 42j5
 15b Low-inc house other
 15c Qual rehab exp
 15d Rental RE credits
 15e Other rental credits
 15f Other credits
 16b Gross inc all src
 16c-hTot foreign income
 16i-o Tot foreign deds
 16p-qTotal foreign taxes
 17a Depr adjustment
 17b Adj gain or loss
 17c Depletion
 17d Inc-oil/gas/geoth
 17e Ded-oil/gas/geoth
 17f Other AMT items
 18a Tax-exempt int
 18b Other tax-exempt
 18c Nonded expense                                    26                          3                  113                    16                       158
 19a Cash distributions
 19b Property distributions
 20a Invest income
 20b Invest expense
                                                                                                                                      PAGE 1 OF 1
C0195 10/04/2021 9:20 PM                      Case:22-00818-jtg            Doc #:22 Filed: 04/29/2022              Page 40 of 54

                                                        Schedule K-1 Percentages Summary Worksheet
        Form   1065                                                                                                                                                            2020
                                                For calendar year 2020, or tax year beginning            , and ending
 Partnership Name                                                                                                                Employer Identification Number

    MASTER EQUITY GROUP, LLC                                                                                                     XX-XXXXXXX
   Partner                                                                          Profit                                Loss                                       Capital
   Number                      Partner Name                            Beginning                Ending        Beginning            Ending                Beginning              Ending
    1             RAVINDER SINGH                                      35.057000              35.057000        35.057000          35.057000              35.057000              35.057000
    2             DAVID KEYTE                                          4.500000               4.500000         4.500000           4.500000               4.500000               4.500000
    3             ADAM TUCKER                                         50.444000              90.001000        50.444000          90.001000              50.444000              90.001000
    4             RICK MCDOWELL                                        9.999000               9.999000         9.999000           9.999000               9.999000               9.999000




                                                                                                                                                                     PAGE 1 OF 1
C0195 10/04/2021 9:20 PM                      Case:22-00818-jtg              Doc #:22 Filed: 04/29/2022             Page 41 of 54

                                                              Reconciliation of Partners' Basis Worksheet
       Form   1065                                                                                                                                                      2020
                                                  For calendar year 2020, or tax year beginning           , and ending
 Partnership Name                                                                                                                   Employer Identification Number

    MASTER EQUITY GROUP, LLC                                                                                                        XX-XXXXXXX
        Partner                                                                Beginning                                  Distribution in          Allowed             Ending
        Number                     Partner Name                                 Basis              Increases             Excess of Basis          Decreases            Basis
        1              RAVINDER SINGH                                         1,362,346           -1,118,362                            0               7,657           236,327
        2              DAVID KEYTE                                              174,660             -143,380                            0                 982            30,298
        3              ADAM TUCKER                                            1,956,188            2,225,002                            0              32,949         4,148,241
        4              RICK MCDOWELL                                                  0              425,603                            0               4,621           420,982




                                                      Total this page         3,493,194            1,388,863                            0              46,209         4,835,848
                                                      Total all pages         3,493,194            1,388,863                            0              46,209         4,835,848

                                                                                                                                                                     PAGE 1 OF 1
C0195 10/04/2021 9:20 PM                    Case:22-00818-jtg              Doc #:22 Filed: 04/29/2022                Page 42 of 54

                                                   Reconciliation of Partners' Capital Accounts Worksheet
       Form   1065                                                                                                                                                     2020
                                                For calendar year 2020, or tax year beginning              , and ending
 Partnership Name                                                                                                              Employer Identification Number

    MASTER EQUITY GROUP, LLC                                                                                                   XX-XXXXXXX
   Partner                                                        Beginning               Capital           Current Year      Increases &         Withdrawals &         Ending
   Number                   Partner Name                           Capital              Contributed       Net Income (Loss)    Decreases          Distributions         Capital
   1            RAVINDER SINGH                                      -32,628                           0          -7,657            2,354                        0        -37,931
   2            DAVID KEYTE                                        -299,696                           0            -982              302                        0       -300,376
   3            ADAM TUCKER                                        -216,440                           0         -32,949           10,130                        0       -239,259
   4            RICK MCDOWELL                                     1,159,088                           0          -4,621            1,421                        0      1,155,888




                                           Total this page           610,324                          0         -46,209           14,207                        0        578,322
                                           Total all pages           610,324                          0         -46,209           14,207                        0        578,322

                                                                                                                                                                    PAGE 1 OF 1
                Case:22-00818-jtg Doc #:22 Filed: 04/29/2022         Page 43 of 54
C0195 Master Equity Group, LLC                                                  10/4/2021 9:20 PM
XX-XXXXXXX                       Federal Statements
FYE: 12/31/2020


                         Form 1065, Page 1, Line 14 - Taxes and Licenses
          Description                        Amount
PAYROLL TAXES                           $       15,695
PROPERTY TAXES                                   5,315
     TOTAL                              $       21,010


                              Form 1065, Schedule L, Line 1 - Cash
                                            Beginning               End
          Description                        of Year              of Year
CASH & BANK BALANCES                    $      115,610       $         24,158
ROUNDING ADJUSTMENT                                                        -1
     TOTAL                              $      115,610       $         24,157


           Form 1065, Schedule L, Line 2a - Trade Notes and Accounts Receivable

                                            Beginning               End
          Description                        of Year              of Year
ACCOUNTS RECEIVABLES                    $                    $        374,474
ATC ADJUSTMENT                                                       -374,474
     TOTAL                              $               0    $              0


                        Form 1065, Schedule L, Line 15 - Accounts Payable
                                            Beginning               End
          Description                        of Year              of Year
ACCOUNTS PAYABLE                        $                    $        895,759
ATC ADJUSTMENT                                                       -895,759
     TOTAL                              $               0    $              0


                   Form 1065, Schedule L, Line 19a - Loans from Partners

                                            Beginning               End
          Description                        of Year              of Year
RAVI SINGH LOAN                         $      650,000       $      650,000
ADAM TUCKER                                    170,000              325,022
RICK MCDOWELL                                1,520,000            2,782,000
     TOTAL                              $    2,340,000       $    3,757,022
                Case:22-00818-jtg Doc #:22 Filed: 04/29/2022    Page 44 of 54
C0195 Master Equity Group, LLC                                             10/4/2021 9:20 PM
XX-XXXXXXX                       Federal Statements
FYE: 12/31/2020


      Form 1065, Schedule L, Line 19b - Mortgage, Notes, Bonds Payable in 1 Yr or More
                                          Beginning              End
          Description                      of Year             of Year
MARTIN O'CONNOR                       $      402,595       $     374,436
GRIFFIN                                      125,000             125,000
     TOTAL                            $      527,595       $     499,436
                 Case:22-00818-jtg Doc #:22 Filed: 04/29/2022                                  Page 45 of 54
 C0195 Master Equity Group, LLC                                                                         10/04/2021 9:20 PM
 XX-XXXXXXX                     Federal Asset Report
 FYE: 12/31/2020                    REAL ESTATE

                                                   Date                    Bus Sec       Basis
Asset                Description                In Service      Cost        % 179Bonus for Depr      PerConv Meth   Prior       Current


Non-Residential Real Property:
  11 2309 Improvements                               1/01/20   1,757,179                 1,757,179 39 MM S/L                0     43,179
  12 2233 Improvements (FY2020)                      1/01/20       5,071                     5,071 39 MM S/L                0        125
                                                               1,762,250                 1,762,250                          0     43,304


Other   Depreciation:
   1    Land                                      1/01/19         3,000                     3,000 0 -- Land               0            0
   2    2233 Leasehold Imp                        6/30/19       707,950                   707,950 15 MO150DB         35,398       67,255
   4    Conow Equip                               5/06/19        24,180                    24,180 7 MO200DB           3,454        5,922
   5    C1D1 Room                                 9/16/19        66,002                    66,002 7 MO200DB           9,429       16,164
   6    Equipment                                12/31/19        30,636                    30,636 7 MO200DB           4,377        7,503
   7    ATM Machines                              8/14/19         5,046                     5,046 7 MO200DB             721        1,236
   8    Equip                                     8/14/19         5,490                     5,490 7 MO200DB             784        1,345
                  Total Other Depreciation                      842,304                   842,304                    54,163       99,425


                  Total ACRS and Other Depreciation             842,304                   842,304                    54,163       99,425


Amortization:
  9 Startup Costs 2233                               6/01/19     31,836                    31,836 15 MOAmort          1,238        2,122
 10 Startup Costs General                            6/01/19    250,718                   250,718 15 MOAmort          9,750       16,715
                                                                282,554                   282,554                    10,988       18,837


                  Grand Totals                                 2,887,108                 2,887,108                   65,151      161,566
                  Less: Dispositions and Transfers                     0                         0                        0            0
                  Less: Start-up/Org Expense                           0                         0                        0            0
                  Net Grand Totals                             2,887,108                 2,887,108                   65,151      161,566
                 Case:22-00818-jtg Doc #:22 Filed: 04/29/2022                                  Page 46 of 54
 C0195 Master Equity Group, LLC                                                                         10/04/2021 9:20 PM
 XX-XXXXXXX                       AMT Asset Report
 FYE: 12/31/2020                    REAL ESTATE

                                                   Date                    Bus Sec       Basis
Asset                Description                In Service      Cost        % 179Bonus for Depr       PerConv Meth   Prior       Current


Non-Residential Real Property:
  11 2309 Improvements                               1/01/20   1,757,179                 1,757,179 39 MM S/L                 0     43,179
  12 2233 Improvements (FY2020)                      1/01/20       5,071                     5,071 39 MM S/L                 0        125
                                                               1,762,250                 1,762,250                           0     43,304


Other   Depreciation:
   1    Land                                      1/01/19              0                          0 0 HY                     0             0
   2    2233 Leasehold Imp                        6/30/19              0                          0 15 MO S/L                0             0
   4    Conow Equip                               5/06/19              0                          0 0 HY                     0             0
   5    C1D1 Room                                 9/16/19              0                          0 0 HY                     0             0
   6    Equipment                                12/31/19              0                          0 0 HY                     0             0
   7    ATM Machines                              8/14/19              0                          0 0 HY                     0             0
   8    Equip                                     8/14/19              0                          0 0 HY                     0             0
                  Total Other Depreciation                             0                          0                          0             0


                  Total ACRS and Other Depreciation                    0                          0                          0             0


                  Grand Totals                                 1,762,250                 1,762,250                           0     43,304
                  Less: Dispositions and Transfers                     0                         0                           0          0
                  Net Grand Totals                             1,762,250                 1,762,250                           0     43,304
                  Case:22-00818-jtg Doc #:22 Filed: 04/29/2022 Page 47 of 54
  C0195 Master Equity Group, LLC                                        10/04/2021 9:20 PM
  XX-XXXXXXX               Depreciation Adjustment Report
  FYE: 12/31/2020                  All Business Activities

                                                                                                            AMT
                                                                                                        Adjustments/
Form       Unit   Asset                    Description                 Tax       AMT        ACE         Preferences


MACRS Adjustments:
Page 1       1      11    2309 Improvements                             43,179    43,179     43,179 s              0
Page 1       1      12    2233 Improvements (FY2020)                       125       125        125 s              0
                                                                        43,304    43,304     43,304 s              0



Additional ACE Information for Other Assets:
Page   1     1       1    Land                                               0         0*         0s
Page   1     1       2    2233 Leasehold Imp                            67,255         0*    67,255 s
Page   1     1       4    Conow Equip                                    5,922         0*     5,922 s
Page   1     1       5    C1D1 Room                                     16,164         0*    16,164 s
Page   1     1       6    Equipment                                      7,503         0*     7,503 s
Page   1     1       7    ATM Machines                                   1,236         0*     1,236 s
Page   1     1       8    Equip                                          1,345         0*     1,345 s
                                                                        99,425         0     99,425 s


                            Totals for ACE Depreciation Adjustment:
                              AMT Depreciation Addback                           142,729
                               ACE Depreciation Expense                                     142,729 s




* - This asset has no values in AMT column, assume AMT = Tax Value
s - Substituted applicable AMT or Tax data when ACE column is blank.
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 XX-XXXXXXX       Future Depreciation Report FYE: 12/31/21
 FYE: 12/31/2020                    REAL ESTATE

                                                     Date In
Asset                     Description                Service    Cost        Tax       AMT       ACE


Prior MACRS:
  11     2309 Improvements                            1/01/20   1,757,179    45,055    45,055         0
  12     2233 Improvements (FY2020)                   1/01/20       5,071       130       130         0
                                                                1,762,250    45,185    45,185         0


Other Depreciation:
   1     Land                                         1/01/19      3,000          0         0         0
   2     2233 Leasehold Imp                           6/30/19    707,950     60,529         0         0
   4     Conow Equip                                  5/06/19     24,180      4,230         0         0
   5     C1D1 Room                                    9/16/19     66,002     11,545         0         0
   6     Equipment                                   12/31/19     30,636      5,359         0         0
   7     ATM Machines                                 8/14/19      5,046        882         0         0
   8     Equip                                        8/14/19      5,490        960         0         0
                Total Other Depreciation                         842,304     83,505         0         0


                 Total ACRS and Other Depreciation               842,304     83,505         0         0


Amortization:
   9     Startup Costs 2233                           6/01/19     31,836      2,123         0         0
  10     Startup Costs General                        6/01/19    250,718     16,714         0         0
                                                                 282,554     18,837         0         0


                 Grand Totals                                   2,887,108   147,527    45,185         0
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      Form    1065                                                                 Two Year Comparison Worksheet, Page 1                                                             2019 & 2020
 Partnership Name                                                                                                                                                          Employer Identification Number

   MASTER EQUITY GROUP, LLC                                                                                                                                                XX-XXXXXXX
                                                                                                                                                2019                2020                 Differences
                   Gross receipts less returns and allowances . . . . . . . . . . . . . . . . . .                                                 42,188            503,661                  461,473
                   Cost of goods sold . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Gross profit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             42,188            503,661                  461,473
 Income            Ordinary income (loss) from other partnerships, etc. . . . . . . . . .
                   Net farm profit (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net gain (loss) from Form 4797 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Total income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        42,188            503,661                  461,473
                   Salaries and wages (other than to partners) . . . . . . . . . . . . . . . . . .                                               114,084            167,239                   53,155
                   Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     5,160          78,594                   73,434
                   Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     84,429              1,000                  -83,429
                   Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       15,275             21,010                    5,735
                   Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       70,277            104,211                   33,934
 Deductions
                   Depreciation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               54,163            142,729                   88,566
                   Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    273,201             34,929                -238,272
                   Total deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    616,589            549,712                 -66,877
                   Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        -574,401            -46,051                 528,350
                   Total balance due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Tax and           Payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Payment           Amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Overpayment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
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      Form     1065                                                          Two Year Comparison Worksheet, Page 2                                                          2019 & 2020
 Partnership Name                                                                                                                                                 Employer Identification Number

   MASTER EQUITY GROUP, LLC                                                                                                                                       XX-XXXXXXX
                                                                                                                                           2019            2020                 Differences
                   Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               -574,401        -46,051                  528,350
                   Net rental real estate income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net other rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Guaranteed payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Income            Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 (Loss)            Qualified dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Dividend equivalents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net short-term capital gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net long-term capital gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net section 1231 gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Deductions        Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . .                                        -574,401        -46,051                  528,350
 Self-
                   Gross farm or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Employment
                   Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        42,188        503,661                  461,473
                   Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . .
                   Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Credits           Qualified rehab expenditures (rental real estate) . . . . . . . . . . . . .
                   Other rental real estate credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other rental credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Total foreign gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Foreign           Total foreign deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Transactions      Total foreign taxes paid and accrued . . . . . . . . . . . . . . . . . . . . . . . . .
                   Reduction in taxes available for credit . . . . . . . . . . . . . . . . . . . . . . . .
                   Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Alternative       Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Minimum           Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Tax (AMT)         Oil, gas, and geothermal properties - gross income . . . . . . . . . .
 Items             Oil, gas, and geothermal properties - deductions . . . . . . . . . . . . .
                   Other AMT items . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              158                        158
 Other             Distributions of cash and marketable securities . . . . . . . . . . . . . .
 Information       Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               -574,401        -46,051                  528,350
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      Form    1065                                                          Two Year Comparison Worksheet, Page 3                                                      2019 & 2020
 Partnership Name                                                                                                                                            Employer Identification Number

   MASTER EQUITY GROUP, LLC                                                                                                                                  XX-XXXXXXX
                                                                                                                                      2019            2020                 Differences
                   Beginning assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          774,027      3,477,919              2,703,892
   Schedule
                   Beginning liabilities and capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     758,752      3,477,919              2,719,167
      L
                   Ending assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3,477,919      4,834,780              1,356,861
                   Ending liabilities and capital . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                3,477,919      4,834,780              1,356,861
                   Net income (loss) per books . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    -574,401        -46,209                528,192
                   Taxable income not on books . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Guaranteed payments (other than health ins) . . . . . . . . . . . . . . . .
   Schedule
                   Book expenses not deducted . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               158                        158
     M-1
                   Income on books not on return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Return deductions not on books . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Income per return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        -574,401        -46,051               528,350
                   Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      -15,275        610,324               625,599
                   Cash contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        1,200,000                           -1,200,000
                   Property contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Net income (loss) per books . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    -574,401        -46,209                  528,192
   Schedule
                   Other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       14,207                   14,207
     M-2
                   Cash distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Property distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other decreases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Balance at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              610,324        578,322                  -32,002
                   Total income (loss) items:
                     Income (loss) per income statement . . . . . . . . . . . . . . . . . . . . . . .
                     Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                     Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                     Income (loss) per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Total expense/deduction items:
                     Expense per income statement . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   Schedule          Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     M-3             Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                     Deduction per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Other items with no differences . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Reconciliation totals:
                     Income (loss) per income statement . . . . . . . . . . . . . . . . . . . . . . .
                     Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                     Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                     Income (loss) per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
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           Form         1065                                                                                                       Tax Return History Report, Page 1                                            2020
    Partnership Name                                                                                                                                                         Employer Identification Number

        MASTER EQUITY GROUP, LLC                                                                                                                                             XX-XXXXXXX
                                                                                                                                                                                           2019               2020
    Net gross receipts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           42,188            503,661
    Cost of goods sold . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Gross profit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     42,188              503,661
    Gross profit percentage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  100.0000             100.0000
    Other trade or business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . .
    Total income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               42,188             503,661
    Salaries and wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             114,084             167,239
    Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           84,429                1,000
    Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           15,275               21,010
    Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             70,277              104,211
    Depreciation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   54,163              142,729
    Other trade or business deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                            278,361              113,523
    Total deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          616,589              549,712
    Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                              -574,401              -46,051
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          Form         1065                                                                                               Tax Return History Report, Page 2                                             2020
    Partnership Name                                                                                                                                                Employer Identification Number

        MASTER EQUITY GROUP, LLC                                                                                                                                    XX-XXXXXXX
                                                                                                                                                                                  2019                2020
    Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               -574,401               -46,051
    Net rental real estate income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Other net rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Guaranteed payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Interest, dividends, and royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Total capital gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Net section 1231 gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Other income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Other Schedule K deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Total foreign taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Net income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                -574,401                -46,051
    Schedule L, Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    3,477,919              4,834,780
    Schedule L, Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   2,867,595              4,256,458
    Schedule M-2, Capital contributed . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               1,200,000
    Schedule M-2, Net income per books . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                     -574,401                -46,209
    Schedule M-2, Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Schedule M-2, Ending partners' capital . . . . . . . . . . . . . . . . . . . . . . . .                                                                                        610,324              578,322
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                                             MEG - Master Equity Group
                                                            Profit and Loss
                                                      January - December 2021


                                                                                                                     TOTAL
Income
 ATM Revenue                                                                                                      23,233.40
 Platinum Managed Services
  Leased Labor                                                                                                  1,649,072.11
  Reimbursement Income                                                                                            25,446.95
  Rental Income                                                                                                  459,000.00
 Total Platinum Managed Services                                                                                2,133,519.06
Total Income                                                                                                   $2,156,752.46
Cost of Goods Sold
 Human Resources COGS                                                                                           1,312,621.87
 Infrastructure COGS                                                                                             193,552.71
 Marketing and Advertising - COGS                                                                                170,415.66
 Other - COGS                                                                                                        526.49
 Taxes & Insurance - COGS                                                                                         27,264.81
 Technology - COGS                                                                                                64,713.57
Total Cost of Goods Sold                                                                                       $1,769,095.11
GROSS PROFIT                                                                                                    $387,657.35
Expenses
 Ask                                                                                                              13,015.51
 Bad Debt Expense                                                                                                    507.28
 Interest Expense                                                                                                116,043.96
 Labor - Expenses
  Administrative Labor - Expense                                                                                  34,800.33
  Executive Labor - Expense                                                                                       24,239.97
  IT Labor - Expense                                                                                                4,772.05
 Total Labor - Expenses                                                                                           63,812.35
 Miscellaneous Expenses                                                                                           15,434.12
  Cleaning Supplies                                                                                                  712.97
  Office Supplies                                                                                                 18,623.87
  Shipping & Postage                                                                                                1,366.55
 Total Miscellaneous Expenses                                                                                     36,137.51
 Taxes, Insurance, and Licensing TBD
  Licensing                                                                                                         1,345.42
 Total Taxes, Insurance, and Licensing TBD                                                                          1,345.42
Total Expenses                                                                                                  $230,862.03
NET OPERATING INCOME                                                                                            $156,795.32
Other Expenses                                                                                                  $167,036.70
NET OTHER INCOME                                                                                               $ -167,036.70
NET INCOME                                                                                                      $ -10,241.38




                                       Accrual Basis Thursday, April 28, 2022 06:45 PM GMT-04:00                        1/1
